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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,

                        Plaintiff,

 v.                                                         Case No. CR-23-1-RAW

 AUSTIN ISAAC FURR,

                        Defendant.


                                        INFORMATION

The Federal Grand Jury charges:

                                          COUNT ONE

                  VOLUNTARY MANSLAUGHTER IN INDIAN COUNTRY
                         [18 U.S.C. §§ 1112(a), 1151, & 1153]

       On or about September 26, 2021, within the Eastern District of Oklahoma, in Indian

Country, the defendant, AUSTIN ISAAC FURR, an Indian, acting upon a sudden quarrel or heat

of passion, did knowingly kill D.S., in violation of Title 18, United States Code, Sections 1112(a),

1151, and 1153.


                                                      CHRISTOPHER J. WILSON
                                                      United States Attorney


                                                      s/ Jordan Howanitz_______________
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